 Case: 1:17-cv-02127 Document #: 115 Filed: 05/08/18 Page 1 of 1 PageID #:470

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Elliot Singer, et al.
                                           Plaintiff,
v.                                                       Case No.: 1:17−cv−02127
                                                         Honorable Robert W. Gettleman
PrimeSource Health Group LLC, et al.
                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 8, 2018:


       MINUTE entry before the Honorable Robert W. Gettleman: Status and motion
hearing held on 5/8/2018. David Fleming's motion [98] for leave to file an amended
cross−claim and leave to file the pleading under seal is granted. Defendants Advantage
Capital Holdings, LLC and Primehealth Group LLC's motion [81] to dismiss David
Fleming's cross−claims pursuant to Rule 12(b)(1) is denied. Cross−Defendants Kenneth
King and Annie Elliott's motion [90] to dismiss cross−claims filed by David Fleming
under Federal Rule of Civil Procedure 12(b)(1) for lack of subject matter jurisdiction is
denied. Defendant PrimeSource Health Group LLC's motion [109] for leave to file a
Cross−Claim against PrimeHealth Group, LLC and for leave to file the Cross−Claim
under Seal is granted. Motion presentment date of 5/9/2018 is stricken. Responsive
pleadings to all cross−claims due by 5/24/2018. Status hearing set for 5/31/2018 at 9:00
a.m. David Fleming's motion [86] to disqualify the law firms of Golan Christie Taglia and
OBrien Law Offices, P.C. is continued to 5/31/2018. Mailed notice (cn)




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